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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO
 Civil Action No. _________________

 In re Application of

 iFINEX INC.

        Applicant,

 For the Issuance of a Subpoena for the Taking of a Deposition and the Production of Documents
 for use in a Foreign Proceeding Pursuant to 28 U.S.C. § 1782


      APPLICATION TO CONDUCT DISCOVERY PURSUANT TO 28 U.S.C. § 1782

Dated: April 13, 2020
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I.     INTRODUCTION

       Applicant iFinex Inc. (“iFinex” or “Applicant”) seeks the assistance of this Court in

obtaining discovery for use in foreign proceedings both currently ongoing and contemplated in

Poland, Portugal, and the United Kingdom. In those proceedings, Applicant seeks to recover

approximately $880,000,000 of funds which it had entrusted to an entity named Global Trade

Solutions AG (“Global Trade”), doing business as “Crypto Capital.”

       Since 2014, but primarily in 2017-2018, Crypto Capital provided services as a payment

processor to Applicant, transferring funds to and from Applicant and its customers. Since no later

than December 2018, however, Crypto Capital has failed and refused to remit funds, claiming

that its bank accounts located in Poland, Portugal, the United Kingdom, and the United States

had been seized or frozen by various governmental authorities in each jurisdiction.

       For this reason, Applicant (1) filed a claim with the National Prosecutor’s Office in

Poland seeking to recover funds in proceedings currently ongoing before that body; (2) filed an

application for protective order with the Court of Cascais in the Judicial Court of Western Lisbon

(“Court of Cascais”) against Global Trade and two associated companies to prevent the

dissipation of certain funds held in Portugal; (3) filed a separate application for protective order

with the Court of Cascais against the individuals occupying leadership positions in Global Trade

and the two other companies; (4) intends to initiate a legal suit for recovery of those funds before

the same court; and (5) intends to initiate a legal suit for recovery of funds in those accounts

before the High Court of Justice in London, United Kingdom.

       Crypto Capital used a bank account with Citibank, N.A. (“Citibank”) to accept certain

deposits from Applicant’s customers. The account was held in the name of “Global Trading




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Solutions, LLC.” Applicant has obtained information and documents from Citibank pursuant to

Section 1782 discovery authorized by the Central District of California. According to those

records, nearly $2,000,000 of customer funds were transferred from Citibank to an account held

with Bank of Colorado, the subject of the instant Application.

       Through the instant Application, iFinex seeks the aid of this Court in taking discovery

from Bank of Colorado concerning this account, any related accounts, their ownership,

communications with individuals associated with the accounts, and similar information.

Applicant seeks this information for use in the foreign proceedings identified above, in which

Applicant seeks to substantiate its claims to hundreds of millions of dollars.

II.    STATEMENT OF FACTS

       A.      iFinex’s Businesses

       iFinex operates a leading global virtual currency platform operating under the brand and

trade name of Bitfinex, specifically, on and through www.bitfinex.com. (Declaration of

Giancarlo Devasini (“Devasini Decl.”) ¶ 2.) Bitfinex provides a technology platform for

customers—both business and individuals—to engage in the trade of digital tokens (e.g., bitcoin

and Ethereum) using U.S. dollars, Euros, British pounds, and/or Japanese yen. (Id.)

       Before using Bitfinex’s platform, customers must enter into a contract with Bitfinex

agreeing to their terms of service, which are publicly available on Applicant’s website. (Devasini

Decl. ¶ 3.) Customers wishing to deposit fiat currency—such as U.S. dollars, Euros, British

pounds or Japanese yen—on the platform must go through an extensive due diligence process.

(Id.) Applicant also has in place standards to monitor transactions, assess risks, and file




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Suspicious Activity Reports (commonly referred to as a SAR) and other reports required by

applicable law. (Id.)

       Customers who want to purchase virtual currency through Bitfinex using fiat currency

must first deposit their funds into their Bitfinex account. (Devasini Decl. ¶ 4.) Once fiat is

deposited, they may trade those funds for digital tokens with other users. They may then

withdraw those digital tokens. They may, alternately, withdraw unused fiat currency from

Bitfinex or fiat currency that is the proceeds from future trading. (Id.)

       For these platforms to work, customers depend on Applicant’s ability to receive and send

fiat currency. This concept is similar, but not the same, to a customer of a U.S. financial

institution having access to her money from a branch, on demand. (Id. ¶ 5.)

       Until early 2017, customers who sought to deposit fiat currency into their Bitfinex

account could do so by interbank wire transfer, transferring funds from their own bank accounts

into certain bank accounts held by iFinex in Taiwan. In early 2017, however, certain U.S. banks

successfully pressured Applicant’s Taiwanese banks into discontinuing this arrangement.

(Devasini Decl. ¶ 6.)

       Without a readily available banking solution, iFinex turned to a third-party payment

processor doing business as “Crypto Capital.”1 (Devasini Decl. ¶ 7.)




1
         In early 2017, according to its website, Crypto Capital was owned and operated by a Panamanian
entity named Crypto Capital Corp that has since been dissolved (in June 2018). Sometime in 2018,
Crypto Capital began holding itself out, including on its website www.cryptocapital.co, as being owned
by a Swiss entity named Global Trade Solutions AG. For purposes of clarity, Applicant will refer to the
company as “Crypto Capital.”



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        B.       Applicant’s Agreement with Crypto Capital

        Crypto Capital markets itself as enabling its customers to deposit and withdraw fiat funds

instantly to certain virtual currency exchanges including, at the time, Bitfinex. (Devasini Decl.

¶ 8.) In late 2014, Crypto Capital agreed to act as a payment processor2 for the Bitfinex

exchange, although the large majority of processing activity did not commence until 2017. That

is, when Bitfinex customers sought to deposit fiat currency into their Bitfinex accounts, Bitfinex

would provide customers with banking details to which the deposits were to be remitted by bank

wire, as well as certain identifiers to include in the wire details. Crypto Capital represented that

the accounts receiving customer deposits were owned and operated by Crypto Capital or its

related entities. (Id.)

        Once Crypto Capital received funds transmitted, it would use the identifier to allocate

deposits to a Bitfinex account and communicate receipt of the deposit to Bitfinex. (Devasini

Decl. ¶ 9.) Generally, Bitfinex would log onto the Crypto Capital platform to confirm that the

wire was received and approve the deposit receipt. At that point, the funds were made available

to the Bitfinex customer on the Bitfinex platform. Pursuant to the parties’ agreement, Crypto

Capital would hold these funds on behalf of Bitfinex, but would also transfer funds to Bitfinex

on demand. (Id.)

        Customer withdrawals processed by Crypto Capital were handled similarly. (Devasini

Decl. ¶ 10.) A Bitfinex customer would submit a withdrawal request to Bitfinex. Bitfinex would

log onto the Crypto Capital platform and fill in the beneficiary details provided by the customer.



2
       Broadly speaking, a “payment processor” is a third party that facilitates financial transactions
between parties.



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Bitfinex would then approve the withdrawal request and Crypto Capital would settle the

withdrawal by remitting the funds to the Bitfinex customer from a bank account owned by

Crypto Capital. (Id.)

       As part of the parties’ agreement, besides a nominal fee for each deposit or withdrawal,

Crypto Capital charged no fee for these services to iFinex because it was able to earn substantial

interest on the funds it held on Applicant’s behalf in its accounts. (Devasini Decl. ¶ 11.)

       C.      Applicant Begins to Discover Crypto Capital’s Malfeasance

       From early 2017 through late 2018, Bitfinex customers transferred more than $1.5 billion

to various bank accounts purportedly held or controlled by Crypto Capital. (Devasini Decl. ¶ 12.)

By July 2018, the amount Crypto Capital held and owed to Applicant exceeded $1 billion. The

reason for this large balance was largely two-fold: (1) an increasing interest in virtual currency

trading and investment, leading to increasing amounts being transferred by Applicant’s

customers; and (2) institutional constraints on the amount of funds that could be transferred

between Crypto Capital accounts and Applicant’s bank accounts. (Id.)

       During this time, Applicant’s relationship with Crypto Capital generally operated well.

(Devasini Decl. ¶ 13.) In or about March or April 2018, however, Applicant learned from news

reports that Crypto Capital funds had been seized by authorities in Poland as part of an

investigation into potential money-laundering. At the time, Crypto Capital acknowledged that its

Polish bank accounts had been frozen, but claimed that none of Applicant’s funds were affected

by these actions. (Id.)

       In or about late August 2018, however, Crypto Capital began representing that

approximately $500 million of Applicant’s funds in both Poland and Portugal were being “held




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up” by regulators in both countries. (Devasini Decl. ¶ 14.) From then through November 2018,

one of Crypto Capital’s principals, Oz “Joseph,”3 repeatedly reassured Applicant that its funds

held in Poland and Portugal were on the verge of being released and that Crypto Capital was

working diligently with local authorities to secure their release. (Id.)

       In response to increasing pressure from Applicant and their attorneys for specific

information concerning the banking accounts that had been purportedly frozen, Crypto Capital

began providing additional information in the latter part of 2018. (Devasini Decl. ¶ 15.)

       D.      Current, Ongoing Foreign Proceedings

       According to Crypto Capital: approximately $355,000,000 of Applicant’s funds are being

held in various currencies that were on deposit in accounts at Bank Spoldzielczy in Skierniewice,

Poland. According to Crypto Capital, approximately $218,000,000 of Plaintiffs’ funds are being

held in various currencies in accounts at three separate Portuguese banks: Banco Português de

Investimento (“Banco BPI”), Bankinter, S.A. (“Banco BIC”), and Caixa Geral de Depositos S.A.

(Devasini Decl. ¶ 16.)

       Since these and other subsequent disclosures, as well their own further investigation,

Applicant has been able to confirm that the National Prosecutor’s Office in Poland has seized

certain funds held by Crypto Capital in Bank Spoldzielczy. (Devasini Decl. ¶ 17.) Applicant has

filed a claim with the Prosecutor’s Office as an “Injured Party” seeking to recover funds that

Crypto Capital held in Poland on their behalf. (Id.) Applicant also filed a civil claim against a

Polish entity affiliated with Crypto Capital that was the authorized holder of the accounts at issue


3
       In 2019, Applicant subsequently learned that Mr. Joseph’s last name was actually “Yosef.”
During Applicant’s relationship with Crypto Capital, however, Yosef represented—both orally and in
writing—that his name to was “Joseph.”



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located in Poland. Additionally, Applicant filed two criminal notifications against the

representatives of the Polish entity affiliated with Crypto Capital concerning fraud and

appropriation. (Id.)

       With respect to the funds held in the Portuguese banks identified above, Applicant has

filed an application for a protective order with the Court of Cascais against Global Trade and two

other companies (Eligibility Criterion and MOGW) to prevent the dissipation of funds held with

Caixa Geral de Depósitos, Banco BPI and Banco BIC. Applicant has also filed a separate

application for protective order with the Court of Cascais against the principals of Global Trade

and the two other companies. Applicant intends to initiate a legal suit for recovery of those funds

with the same court (Devasini Decl. ¶ 18.)

       Applicant has also learned that Crypto Capital maintained accounts with HSBC Bank

PLC (“HSBC UK”) in the United Kingdom. Applicant anticipates bringing a subsequent suit in

the United Kingdom in order to recover the funds. (Devasini Decl. ¶ 19.)

       To Applicant’s understanding, however, Crypto Capital did not simply receive customer

deposits into its various banking accounts and maintain those deposits with the initial bank

receiving those funds. Rather, Crypto Capital subsequently transferred funds between and among

various banks, including in Europe and the United States. In the U.S. alone, Applicant has

information that Crypto Capital used accounts held not only at Bank of Colorado, but also Bank

of America, Citibank, Enterprise Bank & Trust, HSBC, Stearns Bank, Sun Trust, TD Bank,

Wells Fargo, and US Bank. (Devasini Decl. ¶ 20.)

       Thus, in order to demonstrate Applicant’s ownership of and entitlement to the various

funds held in Poland, Portugal, and the United Kingdom, Applicant must be able to trace the



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 funds deposited by its customers through the fund transfers between and among the various

 banking accounts operated or used by Crypto Capital. Applicant also seeks information

 regarding the ownership and use of the accounts at issue, as well as communications between the

 banks and account holders and/or their representatives. (Devasini Decl. ¶ 24.)

        E.      Crypto Capital’s Use of Citibank Banking Accounts

        From approximately April to June 2018, Crypto Capital used a bank account ending in -

 9503 with Citibank to accept deposits from Applicant’s customers. (Devasini Decl. ¶ 22.) The

 account was held in the name of Global Trading Solutions, LLC. Because the name of this LLC

 was similar to that of the entity that then owned Crypto Capital (Global Trade Solutions AG),

 Applicant believed the LLC to be an entity related to Crypto Capital. (Id.)

        Since December 2018, Applicant has subsequently learned that Global Trading Solutions,

 LLC is wholly owned by an individual named Reginald Dennis Fowler. Prior to December 2018,

 Crypto Capital had never revealed Mr. Fowler’s involvement in its operations and only admitted

 as much in or about late December 2018 and thereafter. (Devasini Decl. ¶ 23.)

        According to information and documents obtained from Citibank pursuant to Section

 1782 discovery authorized by the Central District of California, iFinex has also learned the

 following: In June 2018, nearly $2,000,000 of iFinex customer funds were transferred from the

 Citibank account ending in -9503 to a Bank of Colorado account ending in -3413. According to

 the wire transfer information obtained from Citibank, this Bank of Colorado account is held in

 the name of Eligibility Criterion, an entity owned or controlled by Fowler. Moreover, the wire

 transfer instructions indicated these transfers were “Intercompany Transfers.”




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 III.   THE CONTEMPLATED DISCOVERY

        The contemplated discovery is narrowly tailored to the facts and circumstances

 surrounding the Bank of Colorado’s involvement—knowingly or otherwise—in the events

 described in Section II, above. Applicant seeks the production of documents and the testimony of

 Bank of Colorado concerning the accounts used by the following entities and individuals to

 transfer and hold funds belonging to Applicant, any transfers of funds to or from those accounts,

 the manner in which Applicant’s funds were used, the current location of Applicant’s funds, as

 well as communications with Crypto Capital or its various affiliated entities and individuals:

               Crypto Capital Corp, a now-dissolved Panamanian entity that previously owned

 and operated the www.cryptocapital.co website.

               Global Trade Solutions AG, a Swiss entity that now owns and operates the

 www.cryptocaptital.co website.

               Ivan Manuel Molina Lee, one of Crypto Capital’s principals. Mr. Molina is also a

 registered director of Global Trade Solutions AG.

               Ozzie Yosef a/k/a Ozzie Joseph, one of Crypto Capital’s principals.

               Ravid Yosef, Mr. Yosef’s sister. According to an April 2019 indictment brought

 by the U.S. Attorney for the Southern District of New York, Ms. Yosef opened and used

 numerous accounts at FDIC insured banks in order to provide banking services to cryptocurrency

 exchanges like Bitfinex. In doing so, the indictment alleges that Ms. Yosef falsely represented

 that the accounts would be used for real estate investment transactions.

               Reginald Dennis Fowler, an individual who provided Crypto Capital access to

 various banking accounts in Europe and the United States through various entities which he



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 owned or controlled. Prior to December 2018, Crypto Capital had never revealed Mr. Fowler’s

 involvement in its operations and only admitted as much in or about late December 2018 and

 thereafter.

               Trent Dennis Fowler, a son of Reginald Dennis Fowler. According to banking

 records provided by Crypto Capital to iFinex, Trent Fowler is the registered account holder for at

 least one of the accounts used by Crypto Capital to receive deposits from Bitfinex customers.

               Global Trading Solutions, LLC, an entity Crypto Capital used to receive and

 disburse iFinex customer deposits. iFinex has subsequently learned that Global Trading

 Solutions, LLC is actually wholly owned by Mr. Fowler.

               G.T.S. Resources Limited, a United Kingdom entity that, according to Crypto

 Capital, is currently holding more than $304,000,000 of iFinex’s funds with TCA Investment

 Bancorp & Trust (below). G.T.S. Resources Limited is also wholly owned by Mr. Fowler. In

 December 2018—after iFinex learned of Mr. Fowler’s involvement with Crypto Capital—Mr.

 Fowler changed the corporate name of the entity to Spiral Global Development Limited.

               TCA Investment Bancorp & Trust Company, an entity claiming to hold more than

 $304,000,000 in funds on behalf of G.T.S. Resources Limited. Despite its name, however, TCA

 Investment Bancorp & Trust is not a bank and appears to have no physical presence. TCA

 Bancorp is operated by at least four principals: Katsuyoshi Iwanaga, Diane Fletcher, David

 Anthony Stafford, and Rondell Monroe.

               Eligibility Criterion and/or Eligibility Criterion Unip LDA, an entity owned or

 controlled by Fowler. After receiving iFinex customer funds to the Citibank account noted

 above, Fowler caused several millions of dollars of customer funds to be wire transferred to



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 various banking accounts held in the name of “Eligibility,” “Eligibility Criterion,” and

 “Eligibility Criterion Unip LDA.” Each such transfer included a description as “Intercompany

 Transfer.”

               Spiral Global Development, an entity owned or controlled by Fowler. Again, after

 receiving iFinex customer funds to the Citibank account, Fowler transferred millions of dollars

 of those funds to at least one Enterprise Bank account held in the name of Spiral Global

 Development.

               NLE Consulting Group, a Florida entity created in February 2018 and for which

 Mr. Fowler is registered as a Vice President. In March 2018, the entity applied for a fictitious

 name of “Global Trading Solutions,” a name substantially similar to Global Trade Solutions AG,

 the entity that owns and controls the cryptocaptial.co website.

        A copy of Applicant’s proposed discovery is attached to the Devasini Declaration as

 Exhibit “A.”

 IV.    IFINEX’S LOCATION

        iFinex is incorporated in the British Virgin Islands with its principal place of business

 located in the Republic of China (Taiwan). (Devasini Decl. ¶ 2.)

 V.     THE APPLICATION SATISFIES SECTION 1782’S REQUIREMENTS

        28 U.S.C. § 1782(a) provides:

        The district court of the district in which a person resides or is found may order him
        to give his testimony or statement or to produce a document or other thing for use
        in a proceeding in a foreign or international tribunal. The order may be made
        pursuant to ... the application of any interested person…

        The fundamental purpose of § 1782 is to provide a procedure whereby a qualified

 applicant may obtain “federal-court assistance in gathering evidence for use in foreign tribunals.”



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 Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004); see Kiobel by

 Samkalden v. Cravath, Swaine & Moore LLP, 895 F.3d 238, 244 (2d Cir. 2018). “Any interested

 person” includes litigants before foreign or international tribunals, and includes corporate entities

 as well as natural persons. Id. at 256; see Akebia Therapeutics, Inc. v. FibroGen, Inc., 793 F.3d

 1108, 1109 (9th Cir. 2015).

         The policy behind § 1782 is to “assist foreign tribunals in obtaining relevant information

 that the tribunals may find useful, but, for reasons having no bearing on international comity,

 they cannot obtain under their own laws.” Id., at 262. The “prima facie showing mandated by the

 statute is that the application be made (1) ‘by a foreign or international tribunal’ or ‘any

 interested person,’ (2) that it be ‘for use in a proceeding in a foreign or international tribunal,’

 and (3) that the person or entity from whom the discovery is sought be a resident of or be found

 in the district in which the application is filed.” In re Bayer AG, 146 F.3d 188, 193 (3d Cir.

 1998); Republic of Kazakstan v. Biedermann Int’l, 168 F.3d 880, 881 (5th Cir. 1999).

         A.       Applicant is an “Interested Person”

         As noted above and in the Devasini Declaration, Applicant is a party to current foreign

 proceedings occurring in Poland, Portugal, and the United Kingdom. As a party in foreign

 litigation, iFinex satisfies the “interested person” requirement of Section 1782. See Intel, 542

 U.S. at 256 (“No doubt litigants are included among, and may be the most common example of,

 the ‘interested person[s]’ who may invoke Section 1782.”); see also John Deere Ltd. v. Sperry

 Corp., 754 F.2d 132 (3d Cir. 1985) (a party to foreign litigation is an interested person under

 Section 1782).




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        B.      The Requested Discovery is for Use in Conjunction with Proceedings Before
                Foreign Tribunals

        As discussed above, Applicant seeks discovery from the Bank of Colorado: (1) to

 establish Applicant’s right to certain funds in proceedings before the National Prosecutor’s

 Office in Poland; (2) to establish its right to enjoin the dissipation of certain funds in Portugal

 before the Court of Cascais, as well as their right to recover those funds in a subsequent suit

 before the same court; and (3) its right to recover certain funds held by HSBC in the United

 Kingdom before the High Court of Justice there.

        While Section 1782 requires that the evidence sought be “for use in a proceeding in a

 foreign or international tribunal,” the Supreme Court has rejected the view that “Section 1782

 comes into play only when adjudicative proceedings are ‘pending’ or ‘imminent.’” Intel, 542

 U.S. at 259. Rather, it held that a foreign proceeding only had to be “within reasonable

 contemplation.” Id.; see also Mees v. Buiter, 793 F.3d 291, 299 (2d Cir. 2015) (rejecting

 argument that pre-litigation discovery sought via § 1782 required a showing that applicant could

 not commence foreign proceeding absent the discovery sought).

        In deciding whether this requirement of § 1782 is met, the district court should ask

 whether “there [is] sufficient indication that a proceeding in court would eventuate in which the

 evidence gathered can be weighed impartially.” In re Letter of Request from Crown Prosecution

 Serv. Of United Kingdom, 870 F.2d 686, 691 (D.C. Cir. 1989). Where the applicant sets forth the

 documents it desires, the information it expects to find, and the reasons it would use the

 documents, the court can reasonably conclude that a foreign proceeding is within reasonable

 contemplation. In re Request for Assistance from Ministry of Legal Affairs of Trinidad &




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 Tobago, 848 F.2d 1151, 1156 (11th Cir. 1988), abrogated on other grounds by Intel, 542 U.S.

 241.

        Here, certain foreign proceedings have commenced, as identified above. The fact that

 other contemplated foreign proceedings have not yet commenced, such as additional proceedings

 in Poland identified above, is of no moment. Indeed, in Intel, the Supreme Court held that

 “Section 1782(a) does not limit the provision of judicial assistance to pending [or imminent]

 adjudicative proceedings. 542 U.S. at 258. The Intel Court held that Section 1782(a) should be

 read only to require that it be “within reasonable contemplation” that the evidence sought would

 be used in a dispositive proceeding.” Id. (citing In re Crown Prosecution Serv., 870 F.2d 686,

 691 (emphasis added) ); see also In re Letters Rogatory Issued by the National Court of First

 Instance in Commercial Matters N.23 of the Federal Capital of the Argentinean Republic, 144

 F.R.D. 272, 277 n. 4 (3d Cir. 1992)(rejecting argument that a “pending” proceeding is required

 under Section 1782); In the Matter of the Application of Oxus Gold PLC For Assistance Before a

 Foreign Tribunal, 2007 U.S. Dist. LEXIS 24061, at *18 (D.N.J. April 2, 2007)(requirements of

 Section1782 satisfied where applicant alleged that claim would be litigated in “near future”).

        Thus, this factor favors granting the requested discovery.

        C.      Bank of Colorado Resides in and Can Be Found in the District of Colorado

        Pinnacle Bancorp does business as the Bank of Colorado, with Bank of Colorado’s

 corporate headquarters at 1609 East Harmony Road, Fort Collins, Colorado 80525. Thus,

 Respondent is within this Court’s jurisdiction and subject to its authority over the requested

 discovery sought by Applicant. (See Devasini Decl. ¶ 25.)




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        D.      Discretionary Considerations Merit Granting This Application

        In addition, certain discretionary factors that “bear consideration in a ruling on a § 1782

 request” also favor granting the instant Application. See, Intel, 542 U.S. at 264-65. These

 include:

        (1)     Whether the person from whom discovery is sought is a non-participant to the

        foreign proceeding thereby making the need for the aid more apparent;

        (2)     The nature of the foreign tribunal, the character of the proceedings underway

        abroad, and the receptivity of the foreign government or court abroad to federal court

        judicial assistance;

        (3)     Whether the § 1782 application for discovery is an attempt to circumvent the

        foreign proceeding or undermine foreign laws;

        (4)     Whether granting discovery that is narrowly tailored is consistent with the aims of

        the statute to promote efficiency and reciprocity.

 Here, each of these discretionary factors weighs in favor of granting the Application.

        First, Applicant’s need for the discovery from Bank of Colorado by means of § 1782(a) is

 heightened by the fact that it is not a party to the proceedings currently occurring or

 contemplated in Poland, Portugal, or the United Kingdom.

        As the Supreme Court noted: “[a] foreign tribunal has jurisdiction over those appearing

 before it, and can itself order them to produce evidence.” Intel, 542 U.S. at 264-65. As such,

 relief under § 1782(a) may not be warranted where the relevant tribunal does not need the

 assistance. Id. In contrast, here, Bank of Colorado possesses evidence relevant in the foreign

 proceedings, but will not be a party there. Indeed, Bank of Colorado will not be brought before




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 any foreign tribunal for the purpose of obtaining the evidence currently in their possession, nor is

 the discovery sought from it within the jurisdictional reach of the courts of Poland, Portugal, or

 the United Kingdom. Nonetheless, documents in its possession and its testimony are directly

 relevant to Applicant’s claims in Poland, Portugal, and the United Kingdom. This weighs in

 favor of granting the Application.

        Second, there is no reason to believe that the National Prosecutor’s Office of Poland, the

 Court of Cascais, or the courts of the United Kingdom would be unreceptive to this Court’s grant

 of the discovery sought. All three countries are also parties to the New York Convention.

 Therefore, there is no reason to believe that those courts would object to this Court’s assistance

 with discovery that will, by providing information concerning the transfers of Applicant’s funds,

 facilitate the foreign proceedings and the potential recovery of those funds.

        Further, the courts have held that the liberal policy of granting assistance favors allowing

 a petitioner the discovery sought so that the foreign court itself may determine the admissibility

 or relevance of the evidence obtained. See In re Euromepa S.A., 51 F.3d 1095, 1099-1100 (2d

 Cir. 1995) (explaining that “a district court’s inquiry into the discoverability of requested

 materials should consider only authoritative proof that a foreign tribunal would reject evidence

 obtained with the aid of section 1782,” and that “[a]bsent this type of clear directive, however, a

 district court’s ruling should be informed by section 1782’s overarching interest in ‘providing

 equitable and efficacious procedures for the benefit of tribunals and litigants involved in

 litigation with international aspects.’”); In re Application of Grupo Qummam, No. M 8-85 (DC),

 2005 WL 937486, at *3 (S.D.N.Y. Apr. 22, 2005) (“The Mexican court, rather than this Court,




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 should decide whether the additional evidence is admissible, and it will be in a better position to

 do so if Qumma is permitted to conduct the requested discovery first.”).

        Third, the discovery is centrally relevant to the proceedings in Poland, Portugal, and the

 United Kingdom, and would not conflict with or circumvent any foreign proof-gathering

 restrictions. Courts have interpreted this discretionary factor as an inquiry into the petitioner’s

 good faith: “[A] district court could consider whether the § 1782(a) request conceals an attempt

 to circumvent foreign-proof gathering restriction or other policies of a foreign country or the

 United States.” Intel, 542 U.S. at 264-65; see, also In re Application of Gemeinschaftspraxis

 Dr. Med. Schottdorf, Case No. Ml 9-88, 2006 WL 3844464, at *7 (S.D.N.Y. Dec. 29, 2006).

 Applicant’s request here is made in good faith and not for purposes of harassment. See, Brandi-

 Dohorn v. IKB Deutsch Industriebank AG, 673 F.3d 76, 81 (2d Cir. 2012). Thus, 28 U.S.C.

 § 1782 is a proper and necessary method by which to obtain the critical evidence sought by

 Applicant.

        Fourth and finally, any discovery under the subpoenas will not be onerous for Bank of

 Colorado. Courts may consider whether the discovery requests under § 1782 are “unduly

 intrusive or burdensome” and should be “rejected or trimmed.” Intel, 542 U.S. at 265. In this

 instance, Applicant seeks information and documents from Bank of Colorado narrowly tailored

 to information concerning the accounts linked to Crypto Capital, Global Trade Solutions, LLC,

 their principals, agents, and related entities. It is unlikely that such information or documentation

 would be voluminous or difficult to search for and produce. Accordingly, this factor also weighs

 in favor of granting the instant Application.




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 VI.    CONCLUSION

        Based on the foregoing, Applicant respectfully requests that this Court grant the instant

 Application in its entirety.



 Dated: April 13, 2020                        s/Shannon Wells Stevenson
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